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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,                 )
                                           )
                      Plaintiff,           )
                                           )
 vs.                                       )          Case No. 17-CR-30104-DWD
                                           )
 LORI M. JONES,                            )
                                           )
                      Defendant.           )

                               MEMORANDUM & ORDER

DUGAN, District Judge:

       On March 29, 2021, the United States filed a motion to authorize payment from the

inmate trust account of Defendant Lori M. Jones. (Doc. 46). On June 15, 2018, the Court

sentenced Jones to a 60-month term of imprisonment and ordered her to pay $1,084,557.33

in restitution and a $100.00 special assessment. As of the date of the Government’s motion,

Jones had paid the $100.00 special assessment and $125.00 towards the restitution order,

leaving a balance due of $1,084,432.33.

       According to the United States, the Bureau of Prisons maintains in its possession,

custody, or control $782.99 in encumbered funds belonging to Jones that are currently held

in her trust account. Pursuant to 18 U.S.C. § 3664(n), a person who is obligated to pay

restitution or a fine and who receives substantial resources from any person while

incarcerated is “required to apply the value of such resources to any restitution or fine still

owed.” The Court FINDS that Defendant still owes $1,084,432.33 in restitution. For good

cause shown, the Court GRANTS the motion to authorize payment from inmate trust

account (Doc. 46). The Bureau of Prisons is AUTHORIZED and ORDERED to turnover
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to the Clerk of this Court payment in the amount of $782.99. The Clerk of Court shall

accept the funds currently held in the trust account for the following inmate:

              Lori M. Jones
              Reg. No. 13718-025
              FCI Waseca
              P.O. Box 1731
              Waseca, MN 56093

The Clerk shall apply these funds as payment towards the criminal monetary penalties

owed by the defendant in this case. Payments shall be made payable to the Clerk of the

District Court, 750 Missouri Avenue, East St. Louis, Illinois 62201. The United States shall

provide a copy of this Order to the Garnishee.

       SO ORDERED.

       Dated: May 5, 2021



                                                        ______________________________
                                                        DAVID W. DUGAN
                                                        United States District Judge
